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                                                   UNITED STATES DISTRICT COURT
                                                   NORTHERN DISTRICT OF ILLINOIS
                                                        WESTERN DIVISION

                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 PATRICK PURSLEY,


                          3ODLQWLII V                                           &DVH1RBBBBBBBBBBBBBBBBBBB
                                                                                            3:18-cv-50040

                                                                          
                          YV                                                   0DJLVWUDWH-XGJH/LVD$-HQVHQ
                                                                          
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 THE CITY OF ROCKFORD et al.,                             
                                                                          
                          'HIHQGDQW V                                   

                                      PARTIES’ PROPOSED CASE MANAGEMENT ORDER

              , 3XUVXDQW WR )HG 5 &LY 3  I  D PHHWLQJ ZDV KHOG LQ BBBBBBBBBBBBBBBBBBBBB
                                                                                                      by telephone                        RQ
                BBBBBBBBBBBBBBBBBBBBBBBBDQGZDVDWWHQGHGE\
                 July  31, 2019
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBIRU3ODLQWLII
                 Roshna Bala Keen                                                   V BBBBBBBBBBBBBBBBBBBBBBBBBBBBDQG
                                                                                       Patrick Pursley

                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBIRU'HIHQGDQW V BBBBBBBBBBBBBBBBBBBBBBBBBB
                 Attorneys Mogbana, Huotari, Calloway, Iasparro and Pottinger            City of Rockford, Barton, Bowman, Gallardo,

Genens, Getty, Houde, Bishop, Pobjecky, Schmidt, Scott, Williams, Hanson, Pirages, Gunnell, Striupaitis, Welty and Estates of Forrester, Reffett, and Ekedahl
            ,,
               Fed. R. Civ. P. 26(a)(1) DisclosuresZLOOEHH[FKDQJHGE\BBBBBBBBBBBBBBBBBBB7KH&RXUW
                                                                                              August 31, 2019 by Estates
               UHTXLUHVIXOODQGSURSHU5XOH D  GLVFORVXUHVE\DOOSDUWLHV All parties other than the Estates of the three
                 deceased defendants exchanged initial disclosures on May 15, 2019.
            ,,, Alternative Dispute Resolution Mediation.  &RXQVHO KHUHE\ FHUWLI\ WKDW WKHLU FOLHQWV KDYH
                UHDG WKH 3DPSKOHW JRYHUQLQJ WKH FRXUW¶V PHGLDWLRQ SURJUDP WKDW FRXQVHO KDYH GLVFXVVHG ZLWK
                WKHLUUHVSHFWLYHFOLHQWVWKHDYDLODEOHGLVSXWHUHVROXWLRQRSWLRQVSURYLGHGE\WKH&RXUWDQGSULYDWH
                HQWLWLHVDQGWKDWFRXQVHOKDYHJLYHQDQHVWLPDWLRQRIWKHIHHVDQGFRVWVWKDWZRXOGEHDVVRFLDWHG
                ZLWKWKHOLWLJDWLRQRIWKLVPDWWHUWKURXJKWULDOWRWKHLUFOLHQWV)XUWKHUFRXQVHOKDYHSURYLGHGWR
                WKHLUFOLHQWVDQHVWLPDWHRIWKHIHHVDQGH[SHQVHVUHDVRQDEO\H[SHFWHGWREHLQFXUUHGWKURXJKDQ
                HDUO\VXFFHVVIXOPHGLDWLRQ&RXQVHOFHUWLI\WKDWWKH\KDYHGLVFXVVHGWKHDYDLODEOH$'5RSWLRQV
                ZLWKWKHLUFOLHQWVDQGKDYHFRQVLGHUHGKRZWKLVFDVHPLJKWEHQHILWIURPWKRVHRSWLRQV/DVWO\LI
                WKLV LV D IHH VKLIWLQJ FDVH GHIHQVH FRXQVHO FHUWLI\ WKH\ KDYH GLVFXVVHG WKH DGYDQWDJHV DQG
                GLVDGYDQWDJHV RI PDNLQJ D 5XOH  RIIHU RI MXGJPHQW  7KH IDLOXUH WR FRPSO\ ZLWK WKHVH
                UHTXLUHPHQWVZLOOUHVXOWLQVDQFWLRQVSee)HG5&LY3 F  I 

                          3DUWLHVKDYHDJUHHGRQPHGLDWLRQBBBBBBBBBBBBBBBBBBBBBBKDVEHHQFKRVHQDVWKH
                          PHGLDWRU7KHSDUWLHVEHOLHYHWKHEHVWWLPHWRPHGLDWHZRXOGEHBBBBBBBBBBBBBBBDQG
                          UHTXHVWWKHPDWWHUEHUHIHUUHGWRPHGLDWLRQDWWKDWWLPH

                          3DUWLHVUHTXHVWDQLPPHGLDWHVHWWOHPHQWFRQIHUHQFHZLWKWKH0DJLVWUDWH-XGJH

                          3DUWLHVSODQWRXWLOL]HSULYDWH$'5

             ✔            3DUWLHVUHTXHVWWKLVFDVHEHH[FXVHGIURP$'5
         Case: 3:18-cv-50040 Document #: 116 Filed: 07/31/19 Page 2 of 4 PageID #:413

,9 Discovery Plan.7KHSDUWLHVMRLQWO\SURSRVHWRWKH&RXUWWKHIROORZLQJGLVFRYHU\SODQ

     $     'LVFRYHU\ZLOOEHQHHGHGRQWKHIROORZLQJVXEMHFWV
The Ascher homicide, the investigation into the Ascher homicide, and the prosecution of Patrick Pursley;
defendants' personnel files and any history of misconduct; the City of Rockford's policies and practices


(The reference to "per side/set of Defs" below means 30 interrogatories for Plaintiff, 30 interrogatories
per set of Defendants represented by the same attorney)

     %     0D[LPXPRIBBBBBBBBBBBLQWHUURJDWRULHVE\HDFKSDUW\WRDQ\RWKHUSDUW\
                      30 per side/set of Defs



     &     0D[LPXPRIBBBBBBBBBBBUHTXHVWVIRUDGPLVVLRQE\HDFKSDUW\WRDQ\RWKHUSDUW\
                      100

     '     0D[LPXPRIBBBBBBBBBBBGHSRVLWLRQVE\3ODLQWLII
                      40                                   V DQGBBBBBBBBBBBE\'HIHQGDQW
                                                                  25 depositions total     V
     ( (DFKGHSRVLWLRQ>RWKHUWKDQRIBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB@VKDOOEH
     OLPLWHGWRDPD[LPXPRIBBBBBBBBBBBKRXUVXQOHVVH[WHQGHGE\DJUHHPHQWRIWKHSDUWLHV
                             7


     ) 7KHGHDGOLQHIRUWKHSDUWLHVWRDPHQGSOHDGLQJVDGGFRXQWVRUSDUWLHVDQGILOHWKLUGSDUW\
     FRPSODLQWVLVBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    June 30, 2020                   VKRXOGEHQRlaterWKDQGD\VEHIRUHWKH
     FORVHRIIDFWGLVFRYHU\ 
     * )HG5&LY3 D  & GLVFORVXUHVDUHGXHE\BBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                               December 31, 2020
      VKRXOGEHQRlaterWKDQGD\VEHIRUHWKHFORVHRIIDFWGLVFRYHU\ $EVHQWXQXVXDO
     FLUFXPVWDQFHVWKH&RXUWFRQVLGHUVWUHDWLQJSK\VLFLDQVWREH5XOH D  & ZLWQHVVHVLI
     RSLQLRQWHVWLPRQ\ZLOOEHHOLFLWHGIURPWKHSK\VLFLDQV
     + 6XSSOHPHQWDWLRQVXQGHU5XOH H ZLOOEHPDGHLQDWLPHO\PDQQHUEXWQRODWHUWKDQ
     BBBBBBBBBBBBBBBBBBBBBBBBBBBB
     October 30, 2020               VKRXOGEHQRlaterWKDQGD\VEHIRUHWKHFORVHRIIDFW
     GLVFRYHU\ 
     ,     )DFWGLVFRYHU\FXWRIILVVHWIRUBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             January 29, 2021

     -     7KHSDUWLHVDQWLFLSDWHUHWDLQHGH[SHUWVRQWKHIROORZLQJVXEMHFWV
Ballistics, police practices, damages



     5HSRUWIURPUHWDLQHGH[SHUWIRUWKH3ODLQWLIIXQGHU5XOH D  % GXHBBBBBBBBBBBBBB
                                                                                February 26, 2021
     'HSRVLWLRQRIWKH3ODLQWLII¶VH[SHUWVKDOOEHWDNHQE\BBBBBBBBBBBBBB5HSRUWIURPUHWDLQHG
                                                            March   31, 2021
     H[SHUWIRUWKH'HIHQGDQWXQGHU5XOH D  % GXHBBBBBBBBBBBBBB'HSRVLWLRQRIWKH
                                                             April 30, 2021
     'HIHQGDQW¶VH[SHUWVKDOOEHWDNHQE\BBBBBBBBBBBBBB7KHSDUWLHVPXVWJLYHVHULRXVWKRXJKW
                                            May  31, 2021
     ZKHWKHUUHWDLQHGH[SHUWVDUHQHFHVVDU\IRUWKLVFDVH7KHSDUWLHVPXVWOLNHZLVHJLYHVHULRXV
     WKRXJKWDVWRWKHQHHGWRGHSRVHDQ\UHWDLQHGH[SHUWVSee*UHJRU\3-RVHSKThe Temptation
     to Depose Every Expert$%$6(&/,7,*  :LOOLDP&LULJQDQLThe Case for Not
     Taking Defense Expert Depositions75,$/-2851$/ :LQWHU 




                                                     
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                                               February 26, 2021
    . $OOGLVSRVLWLYHPRWLRQVDUHGXHE\BBBBBBBBBBBBBBBBBBBBBBBBBBBB VKRXOGEHQRlater
    WKDQGD\VDIWHUWKHFORVHRIIDFWGLVFRYHU\XQOHVVRWKHUZLVHRUGHUHGE\WKH&RXUW 
    / Counsel may not stipulate to extend discovery matters, including depositions,beyond
    dates already set in this case management order.
    0 These dates will not be amended absent a showing of good cause. The parties
    understand that motions for extensions of time should be brought as soon as possible, but
    at a minimum before the cut-off date, and a party's failure to do so runs the serious risk
    that the motion will be denied.
                                                                          within 60 days
    1 7KHSDUWLHVVXJJHVWWKHQH[WGLVFRYHU\FRQIHUHQFHZLWKWKH&RXUWEHBBBBBBBBBBBBBBBBB
    PXVWEHRQWKH&RXUW¶VUHJXODUVWDWXVFDOOKHOG0RQGD\VDQG:HGQHVGD\V 

9 Electronically Stored Information.

            (OHFWURQLFDOO\VWRUHGLQIRUPDWLRQWKDWFDQUHDVRQDEO\EHDQWLFLSDWHGWREHUHOHYDQWWRWKH
   OLWLJDWLRQZLOOEHSUHVHUYHG7KHSULPDU\VRXUFHRIHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQIRU
   SURGXFWLRQVKRXOGEHDFWLYHGDWDDQGLQIRUPDWLRQXVHGLQWKHRUGLQDU\FRXUVHRIEXVLQHVV
           )RUWKH&RXUWWRRUGHUDVHDUFKWKHUHTXHVWLQJSDUW\ZLOOQHHGWRGHPRQVWUDWHWKDWWKH
   QHHGDQGUHOHYDQF\RIWKHPDWHULDORXWZHLJKWKHFRVWDQGEXUGHQRIUHWULHYLQJDQGSURFHVVLQJWKH
   HOHFWURQLFDOO\VWRUHGLQIRUPDWLRQIURPVXFKVRXUFHVLQFOXGLQJWKHGLVUXSWLRQRIEXVLQHVVDQGWKH
   LQIRUPDWLRQPDQDJHPHQWDFWLYLWLHV
           :KHQEDODQFLQJWKHFRVWEXUGHQDQGQHHGIRUHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQWKH
   &RXUWDQGWKHSDUWLHVZLOODSSO\WKHSURSRUWLRQDOLW\VWDQGDUGVHPERGLHGLQ)HGHUDO5XOHVRI&LYLO
   3URFHGXUH E  DQG E  & DVZHOODVFRQVLGHUWKHWHFKQRORJLFDOIHDVLELOLW\DQGUHDOLVWLF
   FRVWVRISUHVHUYLQJUHWULHYLQJUHYLHZLQJDQGSURGXFLQJHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQ
          &RXQVHOVKRXOGUHYLHZWKHKHOSIXOLQIRUPDWLRQIRXQGDWZZZGLVFRYHU\SLORWFRP
   LQFOXGLQJWKHSURSRVHG'LVFRYHU\3ODQIRU(OHFWURQLFDOO\6WRUHG,QIRUPDWLRQIRUJXLGDQFH
9, Claims of Privilege or of Protection

           7KHSDUWLHVVKDOOGHWDLOEHORZDQ\DJUHHPHQWVUHDFKHGIRUDVVHUWLQJFODLPVRISULYLOHJHRU
   RISURWHFWLRQDVWULDOSUHSDUDWLRQPDWHULDODIWHULQIRUPDWLRQLVSURGXFHGLQFOXGLQJZKHWKHUWKH\
   VHHNHQWU\RIWKHLUDJUHHPHQWDVDQRUGHUXQGHU)HGHUDO5XOHRI(YLGHQFHSee)HG5&LY
   3  E  % LY DQG I 
If a party discovers that it inadvertently produced any privileged or protected material, it shall
immediately notify counsel of record, provide a privilege log with the date, author/recipient, and
basis for privilege assertion, and request immediate return of all such privileged/protected
materials. The recipients of such material shall immediately return the materials to the requesting
attorney, including all copies.
             $EVHQWDQ\VSHFLILFDJUHHPHQWUHDFKHGE\WKHSDUWLHVWKHIROORZLQJSURYLVLRQVZLOO
   DSSO\
            7KHSURGXFWLRQRISULYLOHJHGRUZRUNSURGXFWSURWHFWHGGRFXPHQWVHOHFWURQLFDOO\
   VWRUHGLQIRUPDWLRQ ³(6,´ RULQIRUPDWLRQZKHWKHULQDGYHUWHQWRURWKHUZLVHLVQRWDZDLYHURI
   WKHSULYLOHJHRUSURWHFWLRQIURPGLVFRYHU\LQWKLVFDVHRULQDQ\RWKHUIHGHUDORUVWDWHSURFHHGLQJ

                                                     
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7KLVRUGHUVKDOOEHLQWHUSUHWHGWRSURYLGHWKHPD[LPXPSURWHFWLRQDOORZHGE\)HGHUDO5XOHRI
(YLGHQFH G 
         1RWKLQJFRQWDLQHGKHUHLQLVLQWHQGHGWRRUVKDOOVHUYHWROLPLWDSDUW\¶VULJKWWRFRQGXFW
DUHYLHZRIGRFXPHQWV(6,RULQIRUPDWLRQ LQFOXGLQJPHWDGDWD IRUUHOHYDQFHUHVSRQVLYHQHVV
DQGRUVHJUHJDWLRQRISULYLOHJHGDQGRUSURWHFWHGLQIRUPDWLRQEHIRUHSURGXFWLRQ




                                                                         City of Rockford and Charlene Getty


             Patrick Pursley
3/$,17,)) 6 BBBBBBBBBBBBBBBBBBBBB                   '()(1'$17 6 BBBBBBBBBBBBBBBBBBBB
      /s/ Roshna Bala Keen
%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                      /s/ Ifeanyichukwu C. Mogbana
                                                      %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
5HY
                                                          Ifeanyichukwu C. Mogbana

Plaintiff: Patrick Pursley
By: /s/ Roshna Bala Keen                              Defendants: Christine Bishop, Bruce Scott, Doug
Roshna Bala Keen                                      Williams, James Barton and Stephen Pirages
                                                      By: /s/ Joel M. L. Huotari
                                                             Joel M. L. Huotari


                                                       Defendants: Daniel Gunnell, Jack Welty and Peter
                                                       Striupaitis
                                                       By: /s/ Shirley R. Calloway
                                                              Shirley R. Calloway


                                                       Defendants: Jeff Houde, John Genens, Mark Schmidt,
                                                       Ron Gallardo, Sam Probjecky, Greg Hanson and Jim
                                                       Bowman
                                                       By: /s/ Michael F. Iasparro
                                                              Michael F. Iasparro


                                                       Defendants: Estate of Gary Reffett, Estate of Howard
                                                       Forrester and Estate of David Ekedahl
                                                       By: /s/ R.C. Pottinger
                                                              R.C. Pottinger




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